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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________


UNITED STATES OF AMERICA,
           -v-                                            13-cr-00017 (PKC)
DARRON MARCELLE, Defendant.
__________________________________________




                 MOTION FOR COMPASSIONATE RELEASE ON BEHALF OF
                               DARRON MARCELLE


                                     Preliminary Statement
       Darron Marcelle, through the undersigned, respectfully moves the Court pursuant to 18

U.S.C. § 3582(c)(1)(A)(i) to modify his sentence and immediately release him to home

confinement and a period of supervised release. Between the impacts of the COVID-19

pandemic and his efforts at rehabilitation, Mr. Marcelle is a strong candidate for a compassionate

release.

       By now, as the Court well knows, the state of prisons during the pandemic is virtually

inhumane. There is no ability for inmates to socially distance in any meaningful way. Everyday

items, like the phone booth and computer spaces, are not cleaned in between uses exposing the

inmates to greater chances of infection. When lockdowns come due to an outbreak, inmates are

kept in their cells up to 23 hours per day. Often times inmates have to choose between contacting

family and attorneys or washing clothes as the resources are limited. Prison life is harder in this

day and age than it has been as any time in recent memory.
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       Admittedly, the issues discussed above relate not just to Mr. Marcelle, but to all inmates.

However, he has individual circumstances that make him a candidate worthy of the Courts’

consideration. First, Mr. Marcelle has worked very hard at rehabilitation. While incarcerated he

has used the time wisely to take college courses and has obtained degrees in individual studies

and human services. Second, he has a job waiting for him, as a truck driver, that will ensure that

he is active and will reduce the risk that he will fall into old routines. Third, Mr. Marcelle suffers

from intermittent bouts of high blood pressure, a condition the CDC advises puts him at greater

risk of contracting and having difficulty recovering the COVID-19 virus. Finally, Mr. Marcelle’s

mother, a recovering drug addict is getting older and he would like to be home to take care of her

as much as is possible.

       As is discussed in detail below, Mr. Marcelle moves this Court to grant him

compassionate release and grant him to home confinement (with the ability to work as a truck

driver) or supervised release.

                                        Procedural History

       On September 6, 2016 the Court sentenced Darron Marcelle to 15 years imprisonment

after he entered a guilty plea to one count of conspiracy to violate the federal narcotics laws and

one count of possession and discharge of firearms in furtherance of the narcotics conspiracy.

This was an extraordinary case before the Honorable Debra Batts. In 2014, the United States

Attorney’s Office for the Southern District of New York (“USAO”), offered Mr. Marcelle a plea

agreement that would have resulted in a statutory mandatory minimum of fifteen years. The

lawyer representing him at the time of that plea offer, passed away while Mr. Marcelle was still

considering the plea offer. The Court appointed new counsel, who proved to be less attentive

than Mr. Marcelle had hoped. As such, after a period of several months Mr. Marcelle wrote to



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Judge Batts seeking new counsel. In or about February 2015, the Court appointed the

undersigned to represent Mr. Marcelle. Before the undersigned was appointed, however, the

USAO filed a prior felony information against Mr. Marcelle pursuant to 21 U.S.C. S 841.

       Shortly after the undersigned’s representation began the undersigned contacted the

USAO to accept the 15-year plea offer. However, the USAO informed counsel that the offer had

expired as of the end of 2014 and that it had already filed a prior felony information, which

meant the best deal Mr. Marcelle could get came with a 20-year mandatory minimum. Mr.

Marcelle initially accepted the 20-year plea offer. Upon further investigation of the issue,

however, counsel learned that the USAO had proffered not that the 15-year offer had expired,

but that Mr. Marcelle had rejected the offer. Based on the conflicting facts, Mr. Marcelle

informed the Court in a February 2016 motion to withdraw his guilty plea that he was unaware

that the 15-year offer had an expiration date and that he never rejected or authorized his counsel

to reject the 15-year offer. Judge Batts, after hotly contested briefing, ordered the USAO to

withdraw the prior felony information and to re-extend Mr. Marcelle the 15-year offer.

       The USAO followed the Court’s instructions and, thereafter, Mr. Marcelle entered a

guilty plea to counts 1 and 2 of the superseding information and the Court sentenced Mr.

Marcelle to the minimum 15 years, including time served. Mr. Marcelle was arrested and

incarcerated in January 2013, thus he has served 8 years of a 15 year sentence. Assuming a

reduction for “good time” Mr. Marcelle has approximately just under five years left to serve.

       While incarcerated in FBC Raybrook, Mr. Marcelle sought compassionate release from

the warden. It was denied. He appealed that decision; the appeal was likewise denied. This

brings Mr. Marcelle before the Court in the instant filing.




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                                             Argument

       The plain language of § 3582(c) gives the Court the power to adjust a previously

sentenced defendant’s sentence. “[T]he court . . . may reduce the term of imprisonment (and may

impose a term of probation or supervised release with or without conditions that does not exceed

the unserved portion of the original term of imprisonment), after considering the factors set forth

in section 3553(a) to the extent that they are applicable . . . .” Thus, the Court has the authority to

reduce a sentence for “extraordinary and compelling reasons.” The reasons for the Court to

consider compassionate release for Mr. Marcelle are plentiful.

       First, Mr. Marcelle has made tremendous strides towards rehabilitation. The primary

evidence of this is Mr. Marcelle’s efforts to educate himself. In 2016, he enrolled at North

County Community College and has obtained two degrees. Attached hereto as Exhibit A are a

sampling of Mr. Marcelle’s transcripts and courses. The first is in individual studies and the

second in human service (so he could help his community by becoming a drug counselor upon

release). Between the years 2019-20 he has taken over 20 classes and has achieved an overall

3.219 grade point average. Dating back to 2016, Mr. Marcelle has completed over 40 courses in

areas such as: Philosophy, Sociology, Psychology, Leadership, Math, and more. In spring 2020,

Mr. Marcelle made the President’s List for his academic achievement. Exhibit B.

       Mr. Marcelle believes that this demonstrates to the Court his sincere desire to leave

behind his former life. Previously, Mr. Marcelle did not take his education as seriously as he

needed to and as a result, he felt he had few options but to engage in criminal behavior.

However, having been separated from his family for more than 8 years, he used the time wisely

so that upon his release he will have job opportunities. Importantly, one of the things that Mr.

Marcelle wishes to pursue upon his release is being of service to the community. He believes his



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past mistakes combined with his efforts to rehabilitate himself make him the ideal candidate to

assist others and try to prevent them from making the same poor life choices he made. As such,

Mr. Marcelle asks this Court to consider his post-offense rehabilitation and dedication to his

education as a reason to grant him compassionate release.

        Second, Mr. Marcelle has a job awaiting him upon his release. Mr. Marcelle has a friend,

Melvin Johnson1 of Tied Up Trucking, who has agreed to give Mr. Marcelle a job as a driver

upon his release. Exhibit C, Letter of Melvin Johnson (“Darron will definitely be hired upon his

release.”). Mr. Johnson writes that his “mission is to help ex felons with another chance at

succeeding out here on these streets like I was giving the chance.” Id. Having a job lined up for

his immediate future is one way in which Mr. Marcelle believes he can occupy his time so that

he does not all into old patterns and backslide into criminal conduct.

        Working in the trucking industry is step one of a two step plan Mr. Marcelle has in his

mind. The second step, as is referenced above, is for him to enter the business of counseling at-

risk individuals. Mr. Marcelle’s studies have guided him to a place where he wants to help others

avoid the mistakes he, himself, has made. Becoming a counselor to those in the community is his

way of making amends for the troubles he caused in the past. For these reasons, Mr. Marcelle

requests the Court grant him compassionate release.

        Third, Mr. Marcelle is hoping to avoid contracting COVID-19. Although most of the

world has the same hope, Mr. Marcelle finds himself in a high-risk category. Medical records

supplied by FBC Raybrook demonstrate that over the course of time Mr. Marcelle has developed

intermittent high blood pressure. The records demonstrate that numerous times since 2017, Mr.

Marcelle has had blood pressure readings of scores higher than 130/80. Attached hereto as


1
  Mr. Johnson is, himself, a rehabilitated felon. He was also charged in the same indictment as Mr. Marcelle.
However, since resolving his case he has embraced a law-abiding lifestyle. See Exhibit C.

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Exhibit D are certain medical forms that show Mr. Marcelle’s high blood pressure over the

course of time. According to www.heart.org this places him in the category of Hypertension

Stage 1. In the 8 years Mr. Marcelle has been in prison, his blood pressure has gotten worse and

the jail/prison where he has lived have prescribed no medication for him.

       The CDC has stated that people suffering from untreated hypertension or high blood

pressure might be at increased risks related to contracting COVID-19. Being in prison in a

normal time is difficult, being incarcerated during this pandemic has been brutal. There can be

no doubt but that the Court has heard the stories about lack of testing, 23-hour per day

lockdowns, prisoners being given choices between showering or contacting their families and

attorneys, no practical way to social distance, no gloves, and more. Mr. Marcelle has endured all

of this and more. He seeks compassionate release from this Court because of the additional risk

he faces of a severe case of COVID-19 due to his untreated, intermittent high blood pressure. As

such, Mr. Marcelle requests that this Court grant his request and allow his to serve the remainder

of his sentence at home or on supervised release so that he can avoid any unnecessary risks.

       Finally, Mr. Marcelle’s mother is getting older and is not in good health. His mother, for

many years, was a drug addict. That lifestyle took a toll on her body and immune system. Mr.

Marcelle believes that he needs to be home with her to help care for her. Mr. Marcelle’s mother

has lived a hard life and he worries that she will not survive this pandemic. In addition, Mr.

Marcelle suggests to the Court that those who have cared for his mother while he has been in

prison have born the burden long enough. Having rehabilitated himself, he wishes to be of

assistance to his mother in a way that he could not have done 8 years ago. And thus, he seeks

compassionate release.




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                                            Conclusion

       Mr. Marcelle believes he is a good candidate for compassionate release because he has,

assuming credit for good time, served two thirds of his sentence. He has gone to great lengths to

educate himself and shown dedication to the process by seeking two degrees and obtaining

greater than a B average. He has a job lined up a plan for the future. Both will help him remain a

law abiding citizen and help counsel others away from a life of crime. His health is at greater risk

than the average inmate because of his intermittent hypertension. And it is undeniable that

conditions all inmates, including Mr. Marcelle, are forced to live under are more adverse than at

any time in recent memory. Finally, Mr. Marcelle would like to be able to assist others in caring

for his mother as she gets older and pays the physical price for the life she previously lived. For

all of these reasons, Mr. Marcelle respectfully requests that this Court, pursuant to 18 U.S.C. §

3582(c)(1)(A)(i), modify Mr. Marcelle’s sentence and immediately release him to home

confinement and a period of supervised release.



Dated: New York, New York
       April 30, 2021


                                                      Respectfully submitted,


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              EXHIBIT A
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               EXHIBIT C
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Dear Judge Castel,

   My name is Melvin Johnson and I’m writing this letter on the behalf of Darron Marcelle .
    I met Darron at around the age of 12yrs old. Me and Darron on numerous occasions talked about life
and bettering ourselves and others.
We both came up in a drug infested neighborhood, and we both fell victim to these conditions.
But as we grown into adulthood we’ve both learned and see there is a different way to live. Every one
can change and I definitely hear the growth in my friend since he’s been in prison. And I know him so I
know it’s not just prison talk. Darron has a great spirit as well as a great sense of humor. I know he has
worked hard to educate himself and make changes. And I know if I can change my way of thinking in
such short time, I know for a fact that he has and will do the same as I have,and be a positive role model
to his community.
Since being home I’ve been driving tractor trailers for about 20 months now. I received my CDL in aug
2019 and haven’t looked back yet, I’ve recently started my own company in trucking last year of aug
2020. My mission is to help ex felons with another chance at succeeding out here on these streets like I
was giving the chance. So on my spare time I train and teach guys how to go about getting their license
and I’ve also hired a few guys for dispatch work as well as drivers. If given the opportunity Darron will
definitely be hired upon his release. Mainly because I know who he is. A hard worker, and dedicated to
what he believes in.
Sincerely,
Melvin Johnson
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               EXHIBIT D
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            [REDACTED]
